36 F.3d 1092
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Howard M. DENNY, Plaintiff Appellant,v.Jack COMBS;  Dane Mastin;  Bill Fletcher;  Pa-Paw'sRestaurant, Defendants Appellees.
    No. 94-6187.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 19, 1994Decided Oct. 5, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Graham C. Mullen, District Judge.  (CA-93-52-MU)
      Howard M. Denny, appellant Pro Se.
      Harry Lee Davis, Jr., Hutchins, Tyndall, Daughton &amp; Moore, Winston-Salem, NC;  Robert James Lawing, Jane Cornwell Jackson, Robinson, Maready, Lawing &amp; Comerford, Winston-Salem, NC, for appellees.
      W.D.N.C.
      AFFIRMED.
      Before HALL and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Denny v. Combs, No. CA-93-52-MU (W.D.N.C. Feb. 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We also deny Appellant's motion for appointment of counsel
      
    
    